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` *§>

UNITED STATES DISTRICT
for the
Western District of NeW York

   

in the Matter of the Search of

(Briefly describe Mepmperiy to be searched or identle ihepe:son by name and address.)

CaSeNo. l7-M.T- ©l/

Yahoo! Email account “hi`kaS@yahoo.com”

\_/\_/\_/\_/\_/\_/

APPLICATION FOR A SEARCH WARRANT

lJ a federal law enforcement ofticer, request a Search Warrant and state under penalty of perjury that l have reason to
believe that there is now concealed on the following person or property located in the Western District of Nevv York pamela
newman ardacribepmperam researched engage amzm).- In the Matter of the Search of Yahoo! Email account
“hfkaS@yahoo.com,” as maintained by Yahoo! Inc., a company with offices located in Sunnyvale,
California, as described in Attachment A.

The person or property to be searched, described above, is believed to conceal (idennfv the person or describe the
property to be seized): See Attachment B for the Items to be Seized, all of Which are evidence and
instrumentalities of violations of Title _1_$_ United States Code, Sections ZZSZA§aMZL§A! and
ZZSZA§aL§SMB!, and all of Which are more fully described in the application and aflidavit filed in support
of this warrant, the allegations of Which are adopted and incorporated by reference as if fully set forth
herein.

The basis for the search under Fed. R. Crim, P. 4l(c) is (check one or more):

X evidence of a crime;

X contraband, fruits of crime, or other items illegally possessed;
property designed for use, intended for use, or used in committing a crime;
a person to be arrested or a person Who is unlawfully restrained

The search is related to a violation of 18 U.S.C. §§ 2252A(a)(2)(A) and 2252A(a)(5)(]3). and the application is based
on these facts vvhich are continued on the attached sheet

 
 
 
 

l:l Delayed notice of-_ days (give exact ending date if more than 30 days:
requested under 18 U.S.C. § 3103a, the basis of Which is set forth on the a ` '-

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Applicnnt’ S signamre

Nicholas Melchioire Special Agent H. S. I.

:Pr:ted name and title

Jadge’ S signature

  

Sworn to before me and signed in my presence

Date: 111 2f1/7

City and state: Rochester, New York

 
 

Jjnathan W.Feldman United States Magistrate lodge

Printed name and title

 

Case 6:17-mj-00671-.]WF Document 1 Filed 11/29/17 Page 2 of 12

ATTACHl\/IENT A

 

DESCRIPTION OF ACCOUNT TO BE SEARCHED

The account to be searched is a Yahoo! e~mail and communication account,
associated With the following account that is stored at the premises controlled
by Yahoo! lnc., a company that accepts service of legal process at Yahoo!, 701
First Avenue, Sunnyvale, California 94089:

hjZk$@j/ahoo.com

Case 6:17-mj-00671-.]WF Document 1 Filed 11/29/17 Page 3 of 12

ATTACHlVIENT B
ITEMS TO BE SEARCHED FOR AND SEIZED

1 . Information to be disclosed by Yahoo (the "Provider")

To the extent that the information described in Attachment A is within the
possession, custody, or control of the Provider, including any emails, records, files, logs, or
information that has been deleted but is still available to the Provider, or has been preserved
pursuant to a request made under 18 U.S.C. § 2703(t), the Provider is required to disclose
the following information to the government for each account or identiiier listed in
Attachment A:

a. The contents of all e~mails associated with the account, including stored or
preserved copies of e-mails sent to and from the account, draft e-mails the source and
destination addresses associated with each e-mail, the date and time at which each e~mail
was sent, and the size and length of each e~mail;

b. All records pertaining to chats or Yahoo! Messenger communications and
exchanges between the Yahool Email and communication account hj?k§@yahoo.com and
other Yahoo! users;

c. A]l records or other information regarding the identification of the account, to
include full name, physical address, telephone numbers and other identifiers, records of
session times and durations_, the date on which the account was created, the length of
service, the lP address used to register the account, log-in IP addresses associated with
session times and dates, account status, alternative e~mail addresses provided during
registration methods of connecting log liles, and means and source of payment (including
any credit or bank account number);

d. The types of service utilized;
e- All records or other information stored at any time by an individual using the
account, including address books, contact and buddy lists, calendar data, pictures, and files;

and

f. A]l records pertaining to communications between the Provider and any person
regarding the account, including contacts with support services and records of actions taken

2. Information to be seized by the government
For the period of the creation of the hNk§@ynhoo.cw/n e~mail and communication
account to the present all information described above in Section 1 constituting evidence of
and/ or instrumentalities for violations of 18, United States Code, Sections 2252A(a)(2)(A)
and 2252A(a)(5)(B), including:
a. Images of child pornography and files containing images of child pornography;

b. Communications about the receipt and/ or possession of child pornography; and

c. Records demonstrating the ownership of, subscription to or use of the
hyj‘Zk§@yahoo.con/z e~mail and communication account

Case 6:17-mj-00671-.]WF Document 1 Filed 11/29/17 Page 4 of 12

AFF]])AVIT [N SUPPORT OF A SEARCH WARRANT

STATE OF NEW YORK )
COUNTY OF MONROE ) SS:
ClTY OF ROCHESTER )

NICHOLAS MELCHIORRE, being duly sworn, deposes and states:

l. l have been employed as a Special Agent (SA) with l-lomeland Secu;rity
lnvestigations (HSI)-, within the Departrnent of Horneland Security (DHS), since 20l0. As a
Special Agent, l am a federal law enforcement officer within the meaning of Rule 4l(a) of the
F`ederal Rules of Criminal Procedure, that is, an officer of the United States who is
empowered by law to conduct investigations of, and to make arrests for, federal criminal

offenses

2. l have participated in investigations targeting individuals involved in the
receiptJ distribution and possession of child pornography, in violation of T_itle 18, United
States Code, Section 2252A(a)(2)(A) and Title 18, United States Code, Section
2252A(a)(5)(B). l have received specialized training in the area of child pornography and
child exploitation, and l have had the opportunity to observe and review numerous images
and videos of child pornography, as dehned in Title 18, United States Code, Section 2256.
As part of my employment with HSI, l successfully completed the Federal Law Enforcement
Training Center’s Criminal lnvestigator Training Program and the lrnrnigration and Customs

Enforcement Basic School, both of which included instruction with respect to the application

Case 6:17-mj-00671-.]WF Document 1 Filed 11/29/17 Page 5 of 12

for, and execution of, search and arrest warrants, as well as the application for criminal

complaints, and other legal process.

3. This affidavit is submitted in support of an application to search information
associated with an email and communication account that is stored at premises owned,
maintained, controlled, or operated by Yahool Inc., aprovider headquartered at 701 First
Avenue, Sunnyvale, California 94089 (hereafter "Yahoo!"). The account
hj?k§@yahoo.com is identified and described in the following paragraphs as well as
Attachment A to this application This affidavit is made in support of an application for a
search warrant, pursuant to Title' 18, United States Code, Sections 2703(a), 2703(b)(l)(A) and
2703(c)(l)(A) and Federal Rule of Criminal Procedure 41, for Yahoo! to disclose to the
government records and other information in its possession pertaining to the subscriber(s) or
customer(s) associated with the account h]j‘ZkS@ya/roo.com, including the contents of

comrnunications, as further described in Attachment B.

4. The information contained in this affidavit is based upon my personal
knowledge and observation, my training and experience, conversations with other law
enforcement officers and witnesses, and the review of documents and records. As set forth in
more detail below, there is probable cause to believe that evidence, contraband, units and
instrumentalities of violations of Title 18, United States Code, Section 2252A(a)(2)(A)
(receipt and distribution of child pornography) and Title 18, United States Code, Section
2252A(a)(5)(B) (possession of child pornography) are located within the Yahoo! account

known as hjZk§@yahoo.com.

Case 6:17-mj-00671-.]WF Document 1 Filed 11/29/17 Page 6 of 12

5. Because this affidavit is being submitted for the limited purpose of establishing
probable cause to secure a search warrant, lhave not included every detail of every aspect of
the investigation Rather, l have set forth facts that l believe are necessary to establish
probable cause to believe that evidence of violations of Title 18, United States Code, Sections
2252A(a)(2)(A) and 2252A(a)(5)(B) are presently located in and associated with the Yahoo!
account hyj‘Z/e$@yahoo.com. Unless specifically indicated, all conversations and statements

described in this aflidavit are related in substance and in part.

BACKGROUND OF TI'[E INVES'I`IGATION

6. In October 2016, HSl PhoeniX agents became involved in an ongoing child
pornography investigation with investigators from the New Zealand Department of lnternal
Affairs Te Tari Taiwheuna, Digital Child Exploitation Team (NZDCE"D. That investigation
identified individuals who utilized the lnternet based application “Chatstep.com” to receive

and distribute child pornography

7. Chatstep operates a website, which contains an anonymous onl_ine network
allowing users to post images directly into the site, or post hyperlinks that direct the user to
images and videos stored elsewhere on the lnternet Chatstep operates chat rooms in which
users have been observed to trade in child pornography Users have also been observed
discussing techniques to distribute child pornography while masking their identity, and how
to avoid Chatstep reporting protocols while trading child pornography Chatstep allows files
and images to be shared among groups of people by dragging the files and/ or images into the
chat window; the content is then instantly available to anyone in the chat room. lf the

attached media is a lile, a hyperlink to download the attachment is provided.
3

Case 6:17-mj-00671-.]WF Document 1 Filed 11/29/17 Page 7 of 12

8. On May 22, 2017 and July 24, 2017, aNZDCET investigator, acting in an
undercover capacity, observed multiple individuals accessing Chatstep chat rooms. On those
dates, the NZDCET investigator further observed one of those individuals, user name
“Ryancba,” post links to image files depicting suspected child pornography The NZDCET
investigator clicked on each of the links, downloaded the image liles, and captured screenshots

of the chatrooms to document his observations

9. NZDCET investigators obtained IP address records from Chatstep for user
“Ryancba” for the above stated dates. Chatstep’s records indicated that user “Ryancba”
accessed the Chatstep website via IP address 69.207.98.221 (hereinafter the “SUBJECT lP
ADDRESS”). After determining that the SUBJECT lP ADDR_`ESS was located in the United

States, NZDCET forwarded the findings of their investigation to HSl Phoeni)r.

10. HSl Phoenix agents submitted administrative summonses to Time Warner
Cable d/ b/ a Spectrum requesting subscriber anle address information for the SUBJECT IP
ADDRESS for May 22, 2017 and July 24, 2017. Time Warner provided responses to the
summonses, indicating that on May 22, 2017 and July 24, 2017, the SUBJECT IP ADDRESS
was assigned to 343 North Avenue, l-lilton, New York 14468, and registered in the name of
ROLAND YOCKEL_ Based on this information, the case was referred to HSl Buffalo on or

about October 19, 2017.

ll. On November 2, 2017, l reviewed the materials provided by NZDCET, which
were posted by “Ryancba” to Chatstep on May 22, 2017, including the suspected child

pornography irnages. l have described two of those image files below:

Case 6:17-mj-00671-.]WF Document 1 Filed 11/29/17 Page 8 of 12

a. Filename: httn://nicnaste.com/12-gFAm0VNR.jpg: A photograph of a
pre~pubescent blonde-haired female approximately 4-7 years of age. She is
wearing a red/ pink shirt with green polka dot long sleeves. Her hands are
at her side and her breasts are exposed I-ler nipples are partially covered
by her hair and her bare torso is exposed She has a red/ pink skirt on that
is pulled down exposing her vaginal area. No other individuals are depicted
in this image.

 

b. Filenarne: http://picgaste.com/ 1459733730757-§{M9GEdhn.jpg: A
photograph of a pre~pubescent brown-baited female approximately 4-7 years of

age. She is bent over a computer desk looking at a computer monitor. She is
only wearing a pink shirt and is nude from the waist down. Her legs are slightly
spread and her vaginal and anal areas are fully exposed Additionally, depicted
on the computer monitor on the desk, is an image that appears to depict a pre-
pubescent child approximately 4-7 years who is nude from the waist down.

12. On November 14, 2017, l reviewed the materials provided by NZDCET, which
were posted by “Ryancba” to Chatstep on July 24, 2017, including the suspected child

pornography images. l have described 2 of those image files below:

a. Filename: 11_-_ttp://nicnaste.com/kluvki7iv6-Fil,wimHe.it)g: A photograph
of a pre~pubescent blonde-haired female approximately 4-7 years of age. She is
wearing a short-sleeved shirt, light pink skirt, and two~tone pink socks. She is
outdoors squatting down in the grass with a wooded area behind her. She is
facing the camera and her vaginal area is exposed. No other individuals are
present in the image.

b. Filename: hgp://pigpaste.com/1498687208-le\/[0t25.jpg: A photograph

of a pre~pubescent blonde-haired female approximately 4-7 years of age. She is
completely nude sitting on a blue area rug facing the camera with what appears
to be a wooden television stand behind her. She is facing the camera smiling,
leaning backwards, and holding her body weight up with each of her hands.
T he front of her nude body is completely exposed to the viewer, including her
underdeveloped breasts and vaginal area. No other individuals are present in
the image.

13_ Based on my training and experience, the above described image files

meet the federal definition of child pomography, as defined in Title 18 , UnitedStates

Case 6:17-mj-00671-.]WF Document 1 Filed 11/29/17 Page 9 of 12

Code, Section 2256(8), as they depict the lascivious exhibition of the genitals or pubic areas

of a minor child.

14. On October 30, 2017, your deponent obtained information from the New
York State Departrnent of Motor Vehicles (DMV) related to the SUBJECT PREMISES.
The DMV identified several individuals, including ROLAND YOCKEL, ll (DOB

02/26/1987) as residing at 343 North Avenue.

15. Based on the above, l obtained a search warrant for the premises at 343
North Avenue, l-lilton, NY, 14468, which is a single family home on the west side of
North Avenue. The warrant was executed on November 21 , 2017 with members of HSl
Buffalo and the New York State Po]ice, during which time ROLAND YOCKEL, ll was

present.

16. During the execution of the search warrant, l interviewed ROLAND
YOCKEL, ll. YOCKEL advised that he is a Kindergarten teacher in the Brockport
Central School District and has been employed as a full time teacher since August 2017.
Prior to his full time employment, YOCKEL' served as a substitute teacher for several
years. YOCKEL stated that he resides in the basement of 343 North Avenue with his
parents and siblings and that he accesses the lnternet using the home’s wifi connection
YOCK_EL stated that he owns a cellular phone and a grey HP laptop that he keeps within
the horne, and indicated that he used both devices to access the internet. When asked
about his interest in child pornography, YOCKEL admitted that he has both received
and distributed child pornography at 343 North Ave. using Chatstep.com and Yahoo!

messenger. YOCKEL stated that he used his HP laptop in his basement bedroom to
6

Case 6:17-mj-00671-.]WF Document 1 Filed 11/29/17 Page 10 of 12

distribute and receive child pornography via the internet, and that he saved child

pornography to two external hard drives as well as several DVD’s.

17. An HSl Computer Forensic Agent (CFA) conducted an on~site preview of
two (2) DVD’s discovered on the nightstand in YOCKEL’s bedroom. Both DVD’s
contained numerous video files with titles consistent with child pornography, including
“PTl-lC” which is an acronym for “Pre-teen hardcore.” The CFA viewed several videos
on each disc, all of which depicted female children, approximately 5~8 years old, engaged
in sexually explicit conduct to include oral and/ or vaginal penetration of female children
by adult males. The DVD’s and numerous other electronic media/ storage devices,
including the two hard drives and HP laptop were seized. These items will be forensically

analyzed by HSl Buffalo in the coming weeks.

lS. When asked about his involvement in distributing child pornography,
YOCKEL admitted that he used the Chatstep website under username “Ryancba” to
distribute child pornography over the internet. When asked, YOCKEL stated that he
used “Ryancba” rather than “Roland” to mask his identity. YOCKEL further stated that
he was addicted to pornography and began to trade child pornography-at some point in
the past using his HP laptop, Chatstep, and Yahoo! messenger. YOCKEL stated that he

masturbated to child pornography and that it sexually aroused him.

19. During the interview, YOCKEL confirmed that he used the Yahoo!
account known as hyj?k§@yahoo.com to receive and distribute child pornography

Thereafter, YOCKEL provided consent for HSl to assume control of the account in and

Case 6:17-mj-00671-.]WF Document 1 Filed 11/29/17 Page 11 of 12

to inspect its contents HSl sent a preservation letter to Yahoo! to retain hyj‘Zk§@yahoo.com ’s

communications

20. Based on my training and experience, l arn aware that, in addition to email
services, Yahoo! accounts allow users to engage in instant messaging, in which users may
“chat” in real time with other users and exchange photographs l am also aware that
individuals engaged in the trade of child pornography use these services to send and receive
images and videos depicting child pornography, and that Yahoo! maintains records of such
transactions Based on YOCKEL’S admission that he uses hyj‘Z/e§@yahoo.com to receive and
distribute child pornography, there exists probable cause for the issuance of the requested

search warrant for the contents of the account

21. Based on all of the above, this application seeks authorization to search and
seize, from Yahool, the items listed in the attached Schedule of Iterns to be Seized
(Attachment B), which is attached hereto and incorporated by reference as though set forth

iil]ly herein.
REOUEST FOR SEAL[NG

22. Because this investigation is continuing, disclosure of the search warrant, this
aflidavit, and/ or this application and the attachments thereto could jeopardize the progress
of the investigation Disclosure of the search warrant at this time could jeopardize the
investigation by giving the targets an opportunity to destroy evidence, change patterns of
behavior, notify confederates, or flee from prosecution Accordingly, I request that the Court

issue an order that the search warrant, this affidavit in support of application for search

Case 6:17-mj-00671-.]WF Document 1 Filed 11/29/17 Page 12 of 12

warrant, the application for search warrant, and all attachments thereto be filed under seal for

a period of thirty (30) days
CONCLUSION

Based upon the forgoing, the undersigned respectftu submits that there is probable
cause to believe that evidence, fruits and instrumentalities of violations of Title 18, United
States Code, Section 2252A(a)(2)(A) and Title 18, United States Code, Section
2252A(a)(5)(l3), as specifically described in Attachnlent B to this application, are presently
located within the Yahoo! e~mail and communication account hyj`l?k§@yahoo.com. The
undersigned therefore respectftu requests that the attached warrant be issued authorizing a
search for the items listed in Attachment B within the Yahoo! account hyj?k§@yahoo.com,

from the period of creation of the account to present

NI OLAS MELCHIORR_E
ecial Agent

l-Iomeland Security Investigations

bscribed before
.\ f November 2017.

Sworn to an ~-

   
   

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J ATHAN W. FELDMAN
U ited States Magistrate Judge

